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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
            vs.                          )                8:04CR302
                                         )
JAVIER CRUZ-NARANJO,                     )                 ORDER
                                         )
                   Defendant.            )




      A hearing was held on April 22, 2005 regarding Attorney Kellie Paris
Asaka’s Motion to Withdraw [18]. A portion of the hearing was sealed. I find that
the defendant is without funds to retain counsel and will appoint Kellie Paris
Asaka to represent the defendant.

      IT IS ORDERED that the Motion to Withdraw [18] is granted in part and
denied in part. Ms. Asaka will not be allowed to withdraw and will remain as
counsel of record. The court will appoint Ms. Asaka as CJA counsel. A separate
order will be entered regarding the appointment.

      DATED this 22nd day of April, 2005.

                                       BY THE COURT:


                                       s/ F.A. Gossett
                                       United States Magistrate Judge
